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                        UNITED STATES DISTRICT COURT
                       CENTRAL DISTRICT OF CALIFORNIA

                              CIVIL MINUTES – GENERAL

 Case No. 8:20-cv-0452-JLS-ADS                                   Date: September 18, 2020
 Title: Sears v. Wilson

  Present: Honorable JOSEPHINE L. STATON, UNITED STATES DISTRICT JUDGE

      Melissa Kunig                                                 N/A
       Deputy Clerk                                            Court Reporter

 ATTORNEYS PRESENT FOR PLAINTIFF:             ATTORNEYS PRESENT FOR DEFENDANT:

              Not Present                                      Not Present

 PROCEEDINGS: (IN CHAMBERS) ORDER GRANTING DISMISSAL OF
              ENTIRE ACTION


         Before the Court is the parties’ Stipulation of Dismissal Without Prejudice of (1)
 Plaintiff/Cross-Defendant Hal Marshall Sears' Complaint and (2)
 Defendant/Counterclaimant Erica Wilson's Counterclaim (Doc. 24) entered into by
 counsel for Plaintiff/Cross-Defendant Hal Marshall Sears (“Sears”) and
 Defendant/Counterclaimant Erica Wilson (“Wilson”). The Court ORDERS that this
 entire action is dismissed, and all claims that were asserted, or that could have been
 asserted, by either Sears or Wilson in the Complaint and Counterclaim filed in the above-
 captioned action, are hereby dismissed without prejudice and without fees or costs
 pursuant to Fed. R. Civ. Proc. 41(a)(2).




                                                               Initials of Preparer: mku




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                          CIVIL MINUTES – GENERAL                            1
